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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 RICHARD A. GORMAN,                           CIVIL ACTION
                Plaintiff,

           v.

 ILYA SHPETRIK, OLEG SHPETRIK,                NO.   20-4759
 ANNA SHPETRIK and MARK
 SHPETRIK,

                 Defendants.

                               O R D E R


     AND NOW, this     17th    day of   December    , 2020, upon

consideration of the Motion of Patrick K. Gibson, Esquire for the

Admission Pro Hac Vice of George Schooff, Esquire (Doc. No. 4),

and it appearing to the Court that the said George Schooff is a

member in good standing of the Bar of the State of Michigan, it

is hereby ORDERED that the Motion is GRANTED and George Schooff,

Esquire is admitted to practice Pro Hac Vice before this Court as

co-counsel with Patrick K. Gibson, Esquire on behalf of the

Plaintiff for purposes of this action only in accordance with

Local Rule of Civil Procedure 83.5.2.


                                        BY THE COURT:


                                         s/ J. Curtis Joyner

                                        J. CURTIS JOYNER, J.
